UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 VELOCITY CAPITAL GROUP LLC,

                               Plaintiff,

                        v.
                                                            Case No.: 2:23-cv-05562-NJC-ST
 HUSSIAN COLLEGE, INC., JOSHUA
 DAVID FIGULI, and DAVID J. FIGULI,

                               Defendants.

 HUSSIAN COLLEGE, INC., JOSHUA
 DAVID FIGULI, and DAVID J. FIGULI, on
 behalf of themselves and all similarly situated
 borrowers and guarantors,
                               Plaintiffs,
                        v.
 JACOB AVIGDOR, ARENA INVESTORS,
 LP, JOHN DOES 1-100, and JOHN DOES
 101-200,
                               Defendants.


     VERIFIED ANSWER AND AMENDED CLASS-ACTION COUNTERCLAIMS


       Defendants Hussian College, Inc. (“Hussian”), Joshua David Figuli (“Joshua Figuli”), and

David J. Figuli (“David Figuli”; together with Hussian and Joshua Figuli, “Defendants”), by and

through their attorneys, Halloran Farkas + Kittila LLP, respond to the Verified Complaint (the

“Complaint”) herein as follows:

       1.      Defendants deny sufficient knowledge and information to form a belief as to the

truth of the allegations contained in paragraph 1 of the Complaint.

       2.      Defendants admit the allegations contained in paragraph 2 of the Complaint.




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       3.      Defendants admit that Joshua David Figuli was a resident of California from 2009

until August 2024 and deny the remaining allegations contained in paragraph 3 of the Complaint.

       4.      Defendants deny the allegations contained in paragraph 4 of the Complaint.

       5.      The purported contract referenced in paragraph 5 of the Complaint speaks for itself.

To the extent that the allegations contained paragraph 5 of the Complaint require a further

response, Defendants deny the allegations.

       6.      The purported contract referenced in paragraph 6 of the Complaint speaks for itself.

To the extent that the allegations contained in paragraph 6 of the Complaint require a further

response, Hussian denies the allegations.      The allegations contained in paragraph 6 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 6 of the Complaint

require a response from Joshua or David, Joshua and David deny the allegations.

       7.      The purported contract referenced in paragraph 7 of the Complaint speaks for itself.

To the extent that the allegations contained in paragraph 7 of the Complaint require a response,

Hussian denies the allegations. The allegations contained in paragraph 7 of the Complaint are not

directed at Joshua or David and, therefore, no response from Joshua or David is required. To the

extent that response to the allegations contained in paragraph 7 of the Complaint require a response

from Joshua or David, Joshua and David deny the allegations.

       8.      Hussian denies the allegations contains contained paragraph 8 of the Complaint.

The document referenced in paragraph 8 of the Complaint speaks for itself. The allegations

contained in paragraph 8 of the Complaint are not directed at Joshua or David and, therefore, no

response from Joshua or David is required. To the extent that response to the allegations contained




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in paragraph 8 of the Complaint require a response from Joshua or David, Joshua and David deny

the allegations.

       9.      Paragraph 9 of the Complaint contains legal conclusions as to which no response is

required. To the extent a response is required to the allegations contained in paragraph 9 of the

Complaint, Hussian denies the allegations. The allegations contained in paragraph 9 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 9 of the Complaint

require a response from Joshua or David, Joshua and David deny the allegations.

       10.     Paragraph 10 of the Complaint contains legal conclusions as to which no response

is required. To the extent a response is required to the allegations contained in paragraph 10 of

the Complaint, Hussian denies the allegations. The allegations contained in paragraph 10 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 10 of the

Complaint require a response from Joshua or David, Joshua and David deny the allegations.

       11.     Defendants refer to the documents referenced in paragraph 11 of the Complaint

which speak for themselves. To the extent that a further response is required, Defendants deny the

allegations contained in paragraph 11 of the Complaint.

       12.     Paragraph 12 of the Complaint contains legal conclusions as to which no response

is required. To the extent that a further response is required, Hussian denies the allegations

contained in paragraph 12 of the Complaint. The allegations contained in paragraph 12 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 12 of the

Complaint require a response from Joshua or David, Joshua and David deny the allegations.




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       13.     Paragraph 13 of the Complaint contains legal conclusions to which no response is

required. To the extent a response is required, Hussian denies the allegations contained in

paragraph 13 of the Complaint. The allegations contained in paragraph 13 of the Complaint are

not directed at Joshua or David and, therefore, no response from Joshua or David is required. To

the extent that response to the allegations contained in paragraph 13 of the Complaint require a

response from Joshua or David, Joshua and David deny the allegations.

       14.     Paragraph 14 of the Complaint contains legal conclusions to which no response is

required. Defendants refers to the documents referenced in paragraph 14 of the Complaint which

speak for themselves. To the extent that a further response to Paragraph 14 of the Complaint is

required, Hussian denies the allegations. The allegations contained in paragraph 14 of the

Complaint are not directed at Joshua or David and, therefore, no response from Joshua or David

is required. To the extent that response to the allegations contained in paragraph 14 of the

Complaint require a response from Joshua or David, Joshua and David deny the allegations.

       15.     The allegations in paragraph 15 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 15 of

the Complaint which speaks for itself. To the extent that further response from Joshua is required

to the allegations contained in paragraph 15 of the Complaint, Joshua denies the allegations

contained in paragraph 15. The allegations contained in paragraph 15 of the Complaint are not

directed at Hussian or David and, therefore, no response from Hussian or David is required. To

the extent that response to the allegations contained in paragraph 15 of the Complaint require a

response from Hussian or David, Hussian and David deny the allegations.

       16.     The allegations in paragraph 16 of the Complaint contain legal conclusions as to

which no response is required. To the extent that further response from Joshua is required to the




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allegations contained in paragraph 16 of the Complaint, Joshua denies the allegations contained in

paragraph 16. The allegations contained in paragraph 16 of the Complaint are not directed at

Hussian or David and, therefore, no response from Hussian or David is required. To the extent

that response to the allegations contained in paragraph 16 of the Complaint require a response from

Hussian or David, Hussian and David deny the allegations.

       17.     The allegations in paragraph 17 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 17 of

the Complaint which speaks for itself. To the extent that further response from Joshua is required

to the allegations contained in paragraph 17 of the Complaint, Joshua denies the allegations

contained in paragraph 17. The allegations contained in paragraph 17 of the Complaint are not

directed at Hussian or David and, therefore, no response from Hussian or David is required. To

the extent that response to the allegations contained in paragraph 17 of the Complaint require a

response from Hussian or David, Hussian and David deny the allegations.

       18.     The allegations in paragraph 18 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 18 of

the Complaint which speaks for itself. To the extent that further response from David is required

to the allegations contained in paragraph 18 of the Complaint, David denies the allegations

contained in paragraph 18. The allegations contained in paragraph 18 of the Complaint are not

directed at Hussian or Joshua and, therefore, no response from Hussian or Joshua is required. To

the extent that response to the allegations contained in paragraph 18 of the Complaint require a

response from Hussian or Joshua, Hussian and Joshua deny the allegations.

       19.     The allegations in paragraph 19 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 19 which




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speaks for itself. To the extent that further response from David is required to the allegations

contained in paragraph 19 of the Complaint, David denies the allegations contained in paragraph

19. The allegations contained in paragraph 19 of the Complaint are not directed at Hussian or

Joshua and, therefore, no response from Hussian or Joshua is required. To the extent that response

to the allegations contained in paragraph 19 of the Complaint require a response from Hussian or

Joshua, Hussian and Joshua deny the allegations.

       20.     The allegations in paragraph 20 of the Complaint contain legal conclusions as to

which no response is required. Defendants refer to the document referenced in paragraph 20 of

the Complaint which speaks for itself. To the extent that further response from David is required

to the allegations contained in paragraph 20 of the Complaint, David denies the allegations

contained in paragraph 20. The allegations contained in paragraph 20 of the Complaint are not

directed at Hussian or Joshua and, therefore, no response from Hussian or Joshua is required. To

the extent that response to the allegations contained in paragraph 20 of the Complaint require a

response from Hussian or Joshua, Hussian and Joshua deny the allegations.

                                      GENERAL DENIAL

       Except to the extent expressly stated herein, Defendants deny each and every allegation

contained in the Complaint. Further, Defendants expressly deny that Plaintiff is entitled to any of

the relief sought in the Demand for Relief contained in the Complaint.

                                 AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       Plaintiff fails to state a claim upon which relief can be granted.

                            SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s claims fail because Plaintiff breached the parties’ agreement by failing to

comply with each every of its obligations under the parties contracts.


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                              THIRD AFFIRMATIVE DEFENSE

       The parties’ agreement is an unenforceable usurious loan.

                            FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by the doctrine of unclean hands because, among other

reasons, plaintiff violated New York’s criminal usury law and did not perform under the parties’

agreements.

                              FIFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred because the parties’ agreements were procured by fraud and

misrepresentation.

                              SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims of damages, if any, are subject to a set-off.

                            SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims should be dismissed on the basis of documentary evidence.

                             EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s alleged damages were caused by the conduct of Plaintiff or third parties not

under Defendants’ control, and not by any culpable conduct of Defendants.

                              NINTH AFFIRMATIVE DEFENSE

       Plaintiff cannot have a recovery against Defendants when the revenue it claims to have

purchased did not materialize.

                             TENTH AFFIRMATIVE DEFENSE

       Plaintiff committed fraudulent acts which preclude recovery.

                           ELEVENTH AFFIRMATIVE DEFENSE

       Defendants reserve any and all defenses, at law or in equity, that may exist now or in the

future based upon discovery and further investigation of this case.



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                             TWELFTH AFFIRMATIVE DEFENSE

          Defendants did not breach any alleged agreement with Plaintiff and no cause of action

exists.

                           THIRTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by the doctrines of unclean hands, fraud, unconscionability,

and bad faith. Plaintiff’s alleged agreement constitutes a criminally usurious loan for which

Plaintiff was not entitled to collect payments, and pursuant to which it is not entitled to any causes

of action.

                           FOURTEENTH AFFIRMATIVE DEFENSE

          Defendants acted at all times in good faith and in full compliance with all applicable law

and without malice or intent to harm plaintiff.

                            FIFTEENTH AFFIRMATIVE DEFENSE

          Plaintiff commenced this action for the purpose of harassing and maliciously injuring the

Defendants in an attempt to force a settlement from the Defendants. The Plaintiff has no

meritorious cause of action, and no right of recovery due to the nature of the transaction being a

usurious loan at greater than 125% interest.

                            SIXTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by the implied covenant of good faith and fair dealing. The

Plaintiff’s transaction constitutes a criminally usurious loan at greater than 125% interest, for

which plaintiff had no right to receive payments thereunder.

                          SEVENTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by reason of Plaintiff’s violation of deceptive business

practices statutes, including without limitation N.Y. General Business Law § 349.




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                         EIGHTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by reason that the parties’ transaction constitutes a usurious

loan in violation of N.Y. Penal Law §§ 190.40 and 190.42, 19 P.S. § 4806.2 et seq., and other

applicable law, and accordingly the parties’ transaction is void ab initio.

                          NINETEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by reason of Plaintiff’s breach of the parties’ agreement,

Plaintiff collected monies from Hussian to which it was not entitled.

                                 DEMAND FOR JURY TRIAL

       Defendants hereby demand a trial by jury on all claims so triable.

       WHEREFORE, Defendants respectfully request that this Court:

       (a)     Dismiss Plaintiff’s Complaint with prejudice;

       (b)     Award Defendants their attorneys’ fees, expenses, and costs incurred in this action;
               and

       (c)     Award Defendants such other and further relief as the Court deems just and proper.

                                       COUNTERCLAIMS

       Defendants-Counterclaim Plaintiffs Hussian College, Inc., David J. Figuli, and Joshua

David Figuli by and through their attorneys bring as their counterclaims against counterclaim

defendants Jacob Avigdor, Arena Investments, LP, John Does 1-100, and John Does 101-200

(collectively, “RICO Defendants”) on behalf of themselves and on behalf of all other similarly

situated borrowers and guarantors and allege as follows:

       21.     This is a RICO action to recover damages arising from violation of the State of New

York’s criminal usury statute for damages caused to a class of borrowers and their guarantors,

including Hussian and the Figulis arising from the RICO Defendants’ actions to collect on illegal

loans that charged interest rates that exceeded the legal rate in New York by more than double the



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legally permitted interest rate. The most recent loan to Hussian was more than five-times the legal

limit. To evade applicable usury statutes, the loans were disguised as a purchase and sale of future

receivables agreements, but the loans’ terms and conditions and the RICO Defendants’ actions

demonstrate that despite the name of the agreements, no sales of receivables took place, and the

agreements were intended to be, and always were treated as, loans.            A copy of sample

documentation showing the terms that Velocity typically used with borrowers and guarantors

is attached hereto as Exhibit 1.

                                           The Parties

       22.     Counterclaim plaintiff and borrower class representative, Hussian College, Inc.

(“Hussian”), is a corporation formed under the laws of the Commonwealth of Pennsylvania with

its primary place of business in Philadelphia. It provided undergraduate and graduate programs

related to art, health sciences, business, technology and other career focused programs from

certificates less than one year in length through the master’s degree levels. Hussian received

several loans from Velocity and until its final loan agreement, paid all of the required interest.

Hussian began winding down operations in June 2023, collecting its final tranches of tuition and

fees revenue in April 2023 all before it completed the process of repaying its final loan from VCG.

       23.     Counterclaim plaintiff David J. Figuli (“DJF”) is a citizen of Colorado and the

indirect owner and direct guarantor of Hussian’s earlier and final loans.

       24.     Counterclaim plaintiff Joshua David Figuli (“JDF”; with DJF, the “Figulis,” and

collectively with Hussian, the “Counterclaim Plaintiffs”) is a citizen of Colorado and the indirect

owner and direct guarantor of Hussian’s earlier and final loans. The Figulis are representatives of

the guarantor class. The Figulis have paid Hussian’s and their own legal fees and expenses in

defending this action.




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        25.       Velocity Capital Group LLC (“VCG” or “Velocity”) is a limited liability company

formed under the laws of the state of New York with its principal place of business in Nassau

County, New York.

        26.       Jacob Avigdor (“Avigdor”) is the founder, CEO, and Manager of VCG and is a

citizen of the State of New York.

        27.       Arena Investors, LP (“Arena”) is a limited partnership formed under the laws of the

state of Delaware with its principal place of business in the State of New York. On information

and belief, Arena has extended a $50 million line of credit to VCG.

        28.       John Does 1-100 are entities or individuals that directly or indirectly acquired an

interest in VCG in one more rounds of fund raising by VCG.

        29.       John Does 101-200 are entities or individuals that directly or indirectly provide or

provided financing to VCG to enable it to extend loans to Hussian and the remainder of the class

plaintiffs.

        30.       The borrower class is the group of borrowers who entered into agreements with

Velocity on terms similar to those of Hussian since June 23, 2019.

        31.       The guarantor class is the group of guarantors who entered into guarantees with

respect to the loans entered into by the borrower class since June 23, 2019 on terms similar to the

Figulis.

                                    FACTUAL BACKGROUND

        32.       VCG tends to characterize itself as a merchant cash advance (“MCA”) company

that lends funds to merchants and small businesses that are in desperate need of cash. It is a lender

of last resort.

        33.       From time-to-time, VCG and its counsel characterize VCG as a lender and the

services it provides as lending.


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                                        Hussian’s Business

       34.       Hussian was a private post-secondary school, established in 1946 as Hussian

School of Art.

       35.       In the 1940s, the Philadelphia Museum of Art encouraged John Hussian, a member

of Philadelphia’s art community and a renowned lecturer, to open a school to provide training in

fine art for veterans returning from World War II.

       36.       Hussian’s first class commenced on July 1, 1946.

       37.       In the 1960s, with John Hussian’s guidance as president, the school shifted its

curriculum to concentrate on commercial art.

       38.       Hussian was incorporated on July 1, 1969. John Hussian retired in 1973.

       39.       In 2011, Education Equities Fund, LLC acquired Hussian.

       40.       In November 2013, the Pennsylvania Department of Education granted Hussian the

ability to confer a Bachelor of Fine Arts (BFA) degree.

       41.       In January 2015, Hussian School of Art changed its name to Hussian College.

       42.       The college was accredited by the Accrediting Commission of Career Schools and

Colleges (ACCSC).

                             Velocity’s History As Hussian’s Lender

       43.       Over the last several years of Hussian’s operation, Hussian entered into several

agreements to borrow from Velocity, each time repaying the principal plus interest at amounts that

exceeded the legal interest rate.

       44.       Hussian entered into the following loans with Velocity:

          Origination Date      Borrowed Amount ($)       Total Payments ($)   Injury Amount ($)

         December 11,                          315,085              455,000                139,915
         2019


                                                 12
            Origination Date    Borrowed Amount ($)        Total Payments ($)      Injury Amount ($)

        December 7, 2020                        427,335                630,000                202,665

        February 3, 2021                        427,335                630,000                202,665

        May 3, 2021                             617,335                910,000                292,665

        July 19, 2021                           759,835              1,120,000                360,165

        October 12, 2021                      1,044,835              1,540,000                495,165

        January 1, 2022                       1,069,335              1,610,000                540,665

        February 14, 2023                       418,335                630,000                211,665

       45.      Payment of the illegal interest further exacerbated the financial troubles that

Hussian encountered, as the loans from Velocity required to Hussian part with an excessive portion

of its income just to meet the onerous and illegal payment terms imposed by the agreements with

Velocity.

       46.      Indeed as part of its illegal activities, Velocity, as the Enterprise (as defined below),

extracted more in interest from Hussian than Hussian’s limited resources could support, and these

excessive and illegal interest charges were one of the factors that ultimately forced Hussian to

close its doors and stop operating as an institution of higher education.

       47.      Moreover, even as the interest charged by Velocity as the single-entity Enterprise

was excessive, Velocity extracted more from Hussian than was permitted under its agreements.

Velocity never returned the funds that it wrongfully extracted from Hussian’s account. Instead,

Velocity applied those funds against Hussian’s final loan, meaning that Hussian’s own assets were

part of the funds that were advanced to it. Indeed, Velocity maintained a single ledger in which it

recorded all transactions with Hussian, regardless of which loan related corresponded to the debt.




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                                         The Loan Terms

          48.   Hussian entered into the loan from VCG on February 14, 2023 (the “Loan”). The

form of this Loan was typical in language and terms as the other loans extended by Velocity as the

single-entity Enterprise to Hussian and the class plaintiffs.

          49.   The Loan’s terms required that VCG advance $450,000 to Hussian and, in return,

Hussian would make a $4,500 payment to VCG every business day until it had repaid the $450,000

to VCG plus $180,000 for a total amount of $630,000. Hussian’s Loan was documented on a

standard form that Velocity also used with respect to loans that it made on behalf of the Enterprise

to the class members.

          50.   Notwithstanding its title, the Loan was not the sale/purchase of receivables: it was

a loan.

          51.   The Loan had none of the indicia of a true sale and all the indicia of a loan. Facts

demonstrating this include, without limitation: (i) the Loan required that the Purchased Amount

be repaid from funds other than the purchased “Receipts”; (ii) the terms of the Loan failed to

transfer the risk and benefits of the future receipts from Hussian to Velocity; (iii) the borrower

remained absolutely liable for repayment of the “Purchased Amount”; (iv) Velocity had full

recourse rights against Hussian and Figulis; and (v) the “Daily Payments” were fixed and required

payment within the specific time period chosen by Velocity. These terms and indicia are consistent

with other loans made by Velocity on behalf of the Enterprise to Hussian and the class.

          52.   Moreover, absolute title and ownership of the allegedly purchased receivables did

not transfer from the borrower to Velocity. The borrower remained responsible for generating and

collecting the future revenue, it exercised complete dominion and control over the future revenue

and it retained the risk of non-collectability. Notwithstanding the agreements’ language, all of the

benefits and risks of ownership of the receipts remained with the borrower.


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       53.     Regardless of whether the borrower had daily revenue sufficient to support the

remittance, it was required to ensure that the account was fully funded to support Velocity’s ACH

withdrawal. Velocity did not have any risk of a daily revenue shortfall.

       54.     Just as with a loan, if an event of default occurred, the loans accelerated and the full

amount became immediately due and owing plus additional fees and costs. Moreover, the

borrower’s failure to generate and collect sufficient revenue to make the daily remittance would

automatically constitute an event of default.

       55.     The loans did not have any provision that required Velocity to ensure that the daily

remittances did not exceed the specified percentage of revenue that was paid. Indeed, the

adjustment provision is a sham reconciliation provision that was designed to give the loans the

appearance of not having a definite term—a technique used in a misguided effort to avoid the

prohibitions of the usury laws. In a legitimate reconciliation provision, if a borrower pays more

through its fixed daily payments than the specified percentage of its revenue, the borrower is

entitled to receive the repayment of any excess money paid, so as to ensure that the collections do

not exceed the purportedly purchased share of revenue. The loans, however, do not require that

an excess be refunded. At most, under certain hard to accomplish conditions, the loans allow a

brief reduction in daily remittances with an automatic reversion to the original amount even if

revenue has not recovered.

       56.     Although the face of the loan documentation does not specify the loans’ duration,

basic arithmetic allows the reader to calculate the duration. For Hussian’s final loan, the term was

to be 140 business days—a little more than 28 weeks (accounting for bank holidays and weekends).

The same calculation can be made for other members of the class whose loans were made on the

same and similar forms.




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       57.     The loans do not specify the applicable interest rate, but again, basic arithmetic can

supply those rates. For Hussian’s final loan, the rate exceeded 125%. This calculation can also

be duplicated for the class members based whose loans were based on the same documentation.

       58.     Upon an event of default, the loans accelerate and any portion of the purportedly

purchased receivable that the borrower had not already paid to VCG becomes immediately due

and owing, without regard to whether the receivables that VCG purportedly purchased actually

materialized. This demonstrates that VCG did not purchase receivables but instead extended

money with a specified repayment schedule: a loan.

       59.     Velocity and Avigdor were well aware that the interest rates on the loans violated

New York’s criminal usury statute, the loans’ documentation is replete with VCG’s denials that it

is a loan, and that interest is being paid, and asserting that the defense of usury is being waived.

VCG’s language seeks to recharacterize the loans as purchases of future revenue.

       60.     VCG’s efforts to hide its criminal activity through its drafting of the loans’

documentation include:

                      Labeling the loans “Revenue Purchase Agreements”;

                      Stating that the borrower “is selling a portion of a future revenue stream to
                       VCG at a discount, not borrowing money, therefore there is no interest rate
                       or payment schedule and no time period during which” the loans must be
                       repaid;

                      Stating that the “Purchase Price is not intended to be, nor shall it be
                       construed as a loan from VCG to [the borrower]”;

                      Writing that “[i]n no event shall the aggregate of all amounts or any portion
                       thereof be deemed as interest hereunder, and in the event it is found to be
                       interest despite the parties hereto specifically representing that it is NOT
                       interest, it shall be found that no sum charged or collected hereunder shall
                       exceed the highest rate permissible at law”;

                      “In the event that a court … determines that VCG has charged or received
                       interest hereunder in excess of the highest applicable rate, the rate in effect
                       hereunder shall automatically be reduced to the maximum rate permitted by


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                       applicable law and VCG shall promptly refund to [the borrower] any
                       interest received by VCG in excess of the maximum lawful rate;”

                      Stating that the borrower “knowingly and willingly waives the defense of
                       Usury in any action or proceeding.”

These writings and denials demonstrate that VCG knew that the loans violated New York’s

criminal usury statute and that VCG was going to extraordinary lengths to guard against the

possibility that a borrower would later assert that the loans were usurious.

                              The Payment Adjustment Provision

       61.     The loans contain a provision that purports to, but does not, reconcile the

borrower’s payments to its revenue. At Section 1.4, it states:

               If an Event of Default has not occurred, every two (2) calendar
               weeks after the funding of the Purchase Price to Merchant, Merchant
               may give notice to VCG to request a decrease in the Remittance.
               The amount shall be decreased if the amount received by VCG was
               more than the Purchased Percentage of all revenue of Merchant
               since the date of this Revenue Purchase Agreement. The
               Remittance shall be modified to more closely reflect the Merchant’s
               actual receipts by multiplying the Merchant’s actual receipts by the
               Purchased Percentage divided by the number of business days in the
               previous (2) calendar weeks. Seller shall provide VCG with
               viewing access to their bank account as well as all information
               reasonably requested by VCG to properly calculate the Merchant’s
               Remittance. At the end of the two (2) calendar weeks the Merchant
               may request another adjustment pursuant to this paragraph or it is
               agreed that the Merchant’s Remittance shall return to the
               Remittance as agreed upon on Page 1 of this Agreement.

       62.     The Payment Adjustment Provision, however, has little practical value. It does not

reconcile payments made to VCG to revenue actually received by the borrower and require an

immediate credit or debit to ensure that the borrower is neither underpaying nor overpaying VCG.

       63.     Although it contains an adjustment concept, any adjustment to future payment is

temporary and the borrower’s payments automatically revert to original amount regardless of the

borrower’s actual received revenue or expected future revenue.



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       64.     Further, pursuant to Section 4.3 of the Loan, the adjustment to the borrower’s

payments can only be made on “notice” and the loans require that “[a]ll notices … shall be

delivered by certified mail, return receipt requested, to [VCG]…. Notices to VCG shall become

effective only upon receipt by VCG.” Thus, any adjustment to a borrower’s payment will be

further delayed.

       65.     In addition, because VCG can make requests for information that it believes is

reasonably necessary to determine the propriety of the borrower’s request, VCG has the ability to

further delay any adjustment and the discretion to reject the borrower’s request to adjust the daily

payment by seeking additional information.

       66.     In addition to the onerous terms that VCG built into the loans to ensure that even if

the anticipated receivables failed to materialize it would still be able to collect the full amount of

the purchased receivables from the borrower, VCG also obtained a “Security Agreement” from

the borrower that essentially placed a lien on anything of value that the borrower owned (or might

own in the future) and personal guaranties from the (direct or indirect) owners of the borrower.

       67.     Although VCG wanted to prevent the loans from being treated as a loan to avoid

the consequences of New York’s usury laws, VCG also sought to obtain the protections against

default that are available to a secured lender.

       68.     In the related “Security Agreement,” VCG obtained “a security interest and lien

upon: (a) all accounts, chattel paper, documents, equipment, general intangibles, instruments, and

inventory … now or hereafter owned or acquired by [the borrower or guarantors], (b) all proceeds

… (c) all funds at any time in [the borrower’s or the guarantors’] Account, regardless of the source

of such funds, (d) present and future Electronic Check Transactions, and (e) any amount which

may be due to VCG …, including but not limited to all rights to receive any payments or credits.”




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       69.     Per the Security Agreement, the borrower “agree[d] that, if any time, there are

insufficient funds in [the borrower’s] Account to cover VCG’s entitlements under” the Loan, VCG

is granted a further security interest in all of [the borrower’s] assets of any kind whatsoever, and

that such assets become “Secured Assets.”

       70.     Thus, even if the purchased receivables never materialized, VCG had recourse to

pursue essentially any other the borrower asset to obtain repayment of the loans.

       71.     To further protect itself from the possibility that the purchased receivables would

not materialize, VCG attempted to contract around the Bankruptcy Code’s automatic stay (11

U.S.C. § 362(a)) by including in the Security Agreement that the borrower and the guarantors

“agree that this is a contract of recoupment and VCG is not required to file a motion for relief from

a bankruptcy action automatic stay to realize on any of the Secured Assets.”

       72.     The loans’ terms allow VCG, if the purchased receivables fail to materialize, to

seize anything of value to satisfy the borrower’s obligation to pay it the full purchased amount.

Under the terms of the loans, VCG’s right to seize anything of value exists even if the specified

percentage of the borrower’s future receivables was less than purchased amount or if the borrower

files a petition for relief under the Bankruptcy Code.

       73.     By its own terms, the Security Agreement is intended to “secure the obligations

hereunder and under the [loan].”

       74.     The Security Agreement also allows VCG to assume the borrower’s leased

premises, including “the right: (a) to enter [the borrower]’s premises and to take possession of the

fixtures and equipment therein for the purpose of protecting and preserving same; and/or (b) to

assign [the borrower]’s lease to another qualified business capable of operating a business

comparable to [the borrower]’s at such premises.” Once again, this provision is designed to allow




                                                 19
VCG to obtain the full remittance amount even if the specified percentage of the borrower’s future

receivables that VCG purportedly acquired were ultimately less than the full purchased amount.

          The Personal Guaranties Demonstrate That The Loan Is With Recourse.

       75.     In an effort to ensure that it would be paid in full, even if the borrower’s future

revenue was insufficient, VCG required that the borrowers’ direct and indirect owners, provide

personal guaranties that they would pay in the borrower’s place.

       76.     The personal guaranties provided that the guarantors “shall be jointly and severally

liable for all amounts owed to VCG in the Event of Default.” The Figulis were required to provide

such guarantees on behalf of Hussian. In the case of many of Hussian’s loans with VCG, the

Figulis’ signatures were procured through fraud and the Figulis did not become aware that their

signatures had been forged through misuse of the Docusign platform.

       77.     The guaranty states “[u]ntil the Purchased Amount and [the borrower’s] other

obligations to VCG under the [Loan] and this Agreement are paid in full Guarantor shall not seek

reimbursement from [the borrower] or any other guarantor for any amount paid” under the

Guaranty. (Emphasis added.)

       78.     As a specific example, Hussian ultimately had insufficient revenue to pay the

remittances to VCG or even to continue operating and pay a reduced remittance. It ceased

collecting tuition and fees revenue from operations in April 2023 and suspended instructional

operation as of August 2023.

       79.     After the borrower closed its doors, effectively ending its revenue stream, VCG

continued to pull, through ACH, every dollar it could find in the designated borrower payment

accounts, regardless of the source (i.e., nominal collections on long past-due receivables or various

refunds from cancelled vendor contracts) greatly hampering the wind-up efforts of Hussian and

increasing the exposure of the Figulis to third-party creditors. Further, VCG sought to collect on


                                                 20
Hussian’s loan, by bringing this case to collect on it. It did so, despite the fact that the borrower

had no revenue. On information and belief, VCG has done the same with other borrowers.

       80.     If VCG had truly purchased a specified percentage of the borrower’s revenue up to

a stated amount, as VCG claims, then VCG would simply be in possession of a non-performing

asset—and have no recourse to collect any unpaid balance. Instead, VCG is acting as a lender by

seeking to recover against assets other than those that it purportedly acquired.

                                         VCG’s Funding

       81.     Jacob Avigdor founded VCG after short employment history at other MCA lenders.

       82.     On information and belief, Avigdor founded VCG and began making loans using

capital acquired from others.

       83.     On information and belief, as VCG’s business expanded, it raised additional capital

through a Series A fundraising. That successful fundraising resulted in additional equity holders

joining as members in VCG.

       84.     The additional members provided capital to VCG enabling it to significantly

expand its lending operation. VCG’s new equity members are both entities and their ultimate

human beneficial owners, John Does 1-100.

       85.     In addition to raising additional capital through its successful Series A, on

information and belief, VCG has access to additional capital through various loan structures.

       86.     VCG has a $50 million line of credit from Arena.

       87.     VCG borrows under its arrangements with John Does 101-200, and lends that

money to borrowers with the expectation that it will extract sufficiently greater interest from its

borrowers than it is required to pay to John Does 101-200.




                                                 21
                               CLASS ACTION ALLEGATIONS

       88.     Counterclaim Plaintiffs bring these counterclaims pursuant to Fed. R. Civ. P. 23,

individually and on behalf of all other borrowers and guarantors who have been harmed as a result

of Velocity usurious loan and related guarantees.

       89.     These counterclaims are properly maintainable as a class action.

       90.     The Class is so numerous that joinder of all members is impracticable. On

information and belief, during its history as a lender VCG has funded more than 25,000 clients.

       91.     There are questions of law and fact common to the Class and that predominate over

any issues affecting only individual Class members including, without limitation:

               (a)     Whether Velocity’s loan documents are purchases of receivables or loans;

               (b)     Whether the payment adjustment provision included in the loan documents

                       is fictitious or sham;

               (c)     Whether there is recourse in bankruptcy for debts arising out of the loans;

               (d)     Whether Velocity assumed the risk that the purchased receivables would

                       perform; and

               (e)     Whether there is a presumptive duration for the loans.

       92.     Plaintiffs’ claims arise out of the same form documents as those of the class

members, making interpretation of the contracts at issue common to all members of the class.

       93.     Plaintiffs are committed to prosecuting this action. Plaintiffs’ claims are typical of

the claims of the other Class members, and Plaintiffs have the same interest as other members of

the Class and will fairly and adequately protect the interests of the Class.

       94.     The prosecution of separate actions by individual members of the Class would

create a risk of (a) inconsistent or varying adjudications with respect to individual members of the

Class, which would establish incompatible standards of conduct for the RICO Defendants; or


                                                 22
(b) adjudications with respect to individual members of the Class, which would as a practical

matter be dispositive of the interests of other members not parties to the adjudications or

substantially impair or impede their ability to protect their interests.

         95.      The RICO Defendants have acted, or refused to act, on grounds generally

applicable to the Class with respect to matters complained of herein, thereby making appropriate

the relief sought herein with respect to Class as a whole.

         96.      A class action is superior to other available methods for the fair and efficient

adjudication of this controversy. The expense and burden of individual litigation makes it

impracticable for Class members individually to seek redress for the wrongful conduct alleged

herein. Plaintiffs anticipate that there will be no difficulty in the management of this litigation as

a class action.

         97.      The loan documentation contains a class action waiver. However, because the

loans are void ab initio by application of New York’s usury laws, that provision cannot be

enforced. See, e.g., Moss v. First Premier Bank, 2020 WL 5231320, at *4–5 (E.D.N.Y. Sept. 2,

2020).

                                    FIRST CAUSE OF ACTION
                                    RICO (18 U.S.C. § 1962(C))

         98.      Plaintiffs repeat and reallege the allegations contained in paragraphs 21-97 as if

more fully set forth herein.

                                          Culpable People

         99.      RICO Defendants Avigdor, Arena, John Does 1-100, and John Does 101-200 are

“persons” within the meaning of 18 U.S.C. § 1961(3) and 18 U.S.C. § 1962(c) in that each is an

individual, corporation, or limited liability company capable of holding an interest in real property.




                                                  23
         100.   At all relevant times, each of Avigdor, Arena, John Does 1-100, and John Does

101-200 was, and is, a person that exist separate and distinct from the RICO enterprise described

below.

         101.   Velocity is a limited liability company organized and existing under the laws of the

State of New York.

         102.   Avigdor is the managing member and de facto chief executive officer of Velocity.

He is also a member of Velocity.

         103.   Upon information and belief, Avigdor, through Velocity, solicits, underwrites,

funds, services, and collects upon debts incurred by small business in states that do not have usury

laws.

         104.   Arena is a limited partnership existing under the laws of Delaware that provides

funding to the Enterprise through its credit arrangement with Velocity.

         105.   John Does 1-100 are investors in Velocity who have provided equity capital to

Velocity to allow it to extend unlawful usurious loans on behalf of the Enterprise.

         106.   John Does 101-200 lend funds to Velocity so that it can extend unlawful usurious

loans on behalf of the Enterprise.

                                          The Enterprise

         107.   Velocity constitutes a single-entity enterprise (the “Enterprise”) within the meaning

of 18 U.S.C. §§ 1961(4).

         108.   Avigdor, Arena, John Does 1-100, and John Does 101-200 are a group of persons

that are associated-in-fact for the common purpose of carrying on an ongoing unlawful enterprise.

Specifically, the association-in-fact has a common goal of soliciting, funding, servicing, and

collecting upon usurious loans that charge interest at more than twice the enforceable rate under

the laws of New York and other states.


                                                 24
        109.      Upon information and belief, since at least 2018 and continuing through the present,

the members of the association-in-fact have had ongoing relations with each other and/or one or

more contracts or agreements relating to and for the purpose of originating, underwriting,

servicing, and collecting upon unlawful debt issued by the Enterprise—Velocity—to small

businesses throughout the United States, including Hussian, the Figulis, and the other members of

the class.

        110.      The debt, including such debt evidence by the agreements, constitutes an unlawful

debt within the meaning of 18 U.S.C. § 1962(c) and (d) because (i) it violates applicable usury

statutes and (ii) the rates are more than twice the legal rate. Here, the annualized rate charged to

the borrower exceeded 125%, a rate that is more than five (5) times the maximum twenty-five

percent (25%) permitted to be charged under New York Penal Law § 190.40. Loan agreements

with the class members contain similar unlawful interest rates that more than double the legally

permitted rate.

                              Each Member’s Role In The Enterprise

        111.      The RICO Defendants have organized themselves into a cohesive group with

specific and assigned responsibilities and a command structure to operate as a unit in order to

accomplish the common goals and purposes of collecting upon unlawful debts.                 Generally

speaking, Avigdor uses Velocity to solicit the merchants, underwrite the transactions, and enter

into merchant agreements. John Does 1-100 invested capital in Velocity to enable it to fund the

merchant agreements. Arena and John Does 101-200 provide Velocity with access to additional

capital pursuant to one or credit agreements from which Velocity can draw upon to fund merchant

agreements. Avigdor causes Velocity to collect the proceeds of the usurious loans and distribute

a portion of ill-gotten proceeds to John Does 1-100 and use the ill-gotten proceeds to pay interest

to Arena and John Does 101-200.


                                                   25
                                             Avigdor

       112.    Upon information and belief, Avigdor is the founder, a member of, chief

underwriter, and chief executive officer of Velocity. Upon information and belief, Avigdor is

responsible for the day-to-day operations of the Enterprise and has final say on all business

decisions of the Enterprise including, without limitation, which usurious loans Velocity will fund,

how such loans will be funded, and the ultimate payment terms, amount, and period of each

usurious loan, including the Agreement.

       113.    Upon information and belief, in his capacity as the day-to-day leader of the

Enterprise, Avigdor is responsible for creating, approving and implementing the policies, practices

and instrumentalities used by the Enterprise to accomplish its common goals and purposes,

including: (i) the merchants to whom the Enterprise will lend funds; (ii) the form of merchant

agreements used by the Enterprise to attempt to disguise the unlawful loans as receivable purchase

agreements to avoid applicable usury laws and conceal the Enterprise’s collection of unlawful

debt; (iii) the amount and repayment period of the usurious loans extended by the Enterprise to

merchants; and (iv) the method of collecting the dialing payments via ACH withdrawals. All such

forms were used to make and collect upon the unlawful loans including, without limitation, the

loans extended to the borrower and the class under the Agreements.

       114.    Avigdor also has taken actions and directed the other RICO Defendants to take

actions necessary to accomplish the overall goals and purposes of the Enterprise including

directing Velocity and its employees to make loans to merchants, to fund only certain amounts of

those loans, and to collect upon the unlawful loans.

       115.    Through salary, bonuses, profits, and/or other distributions by Velocity, Avigdor

has ultimately benefited from funneling a portion or all of the usurious loan proceeds to Velocity

and RICO Defendants.


                                                26
                                              Velocity

       116.    Avigdor and Velocity’s other employees and officers have caused Velocity to be,

and continue to be, responsible for: (i) entering into contracts with brokers to solicit borrowers for

its usurious loans and participation agreements with investors to fund the usurious loans;

(ii) underwriting the usurious loans and determining the ultimate rate of usurious interest to be

charged under each loan; (iii) entering into the so-called merchant agreements on behalf of the

Enterprise; (iv) setting up the ACH withdrawals used by the Enterprise to collect upon the unlawful

debt; and (v) obtaining judgments in Velocity’s name to further collect upon the unlawful debt

when a merchant defaults.

       117.    In this case, Avigdor caused Velocity to: (i) enter into a contract with a broker to

solicit borrowers, including the borrower and members of the class; (ii) underwrite the Agreement;

(iii) enter into the agreements; (iv) solicit the information needed to collect upon the unlawful debt

evidenced by the agreements by effecting daily ACH withdrawals from the borrowers’ accounts;

(v) send correspondence seeking payment of the unlawful debt; (vi) fail and refuse to return the

usurious interest charged and collected under the agreements; (vii) fund the amounts loaned to

Hussian and the class members by wire transfer from its banks accounts; (viii) communicate with

the borrowers through email; and (ix) collect the daily payments through the ACH withdrawals

from the borrowers’ designated account into Velocity’s account.

       118.    Upon information and belief, Avigdor benefits from Velocity’s unlawful activity

by retaining a portion of the proceeds of the unlawful debt collected by the Enterprise.

                                         John Does 1-100

       119.    John Does 1-100 are equity owners of Velocity and contributed capital to Velocity

with the knowledge and intent that contributed capital be used for the purpose of enabling Velocity




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to expand its business of soliciting, underwriting, funding, and collecting upon illegal usurious

loans as the Enterprise.

       120.    On information and belief, Velocity conducted a Series A offering and obtained a

$5 million investment prior to December 13, 2018, from one or more of John Does 1-100.

       121.    John Does 1-100 benefit from the Velocity’s unlawful activity by receiving and

retaining a share of the proceeds of the unlawful debt collected by Velocity.

                                               Arena

       122.    On information and belief, Arena provides Velocity with debt financing to support

the activities of the Enterprise. On information and belief, before agreeing to lend funds to

Velocity, Arena investigated Velocity’s business and learned that the Enterprise makes unlawful

usurious loans and, therefore, knew or should have known that by agreeing to extend funding to

Velocity it was agreeing to participate in and benefit from criminal lending activity.           On

information and belief with the benefit of that knowledge, Arena associated with Avigdor and John

Does 1-100 and 101-200, and provides funds that Velocity uses to solicit, underwrite, fund, and

collect upon illegal usurious loans on behalf of itself as a single-entity Enterprise. On information

and belief, Arena extends the loans to Velocity purposely to support and enable it to engage in its

unlawful activity.

       123.    On information and belief, Arena provides $50 million of debt financing to

Velocity.

       124.    On information and belief, Arena benefits from the Enterprise’s unlawful activity

by receiving and retaining a share of the proceeds of the unlawful debt collected by the Enterprise.

                                        John Does 101-200

       125.    On information and belief, John Does 101-200 provide Velocity, with debt

financing to support its activities as a single-entity Enterprise. John Does 101-200 lend funds to


                                                 28
Velocity knowing that Velocity uses those funds to solicit, underwrite, fund and collect upon

illegal usurious loans. John Does 101-200 extend the loans to Velocity purposely to support and

enable the Enterprise to engage in its unlawful activity.

       126.    On information and belief, before December 13, 2018, Velocity obtained $15

million in debt financing from one or more John Does 101-200.

       127.    On information and belief, John Does 101-200 benefit from the Enterprise’s

unlawful activity by receiving and retaining a share of the proceeds of the unlawful debt collected

by the Enterprise.

                                       Interstate Commerce

       128.    Velocity, as a single-entity Enterprise, is engaged in interstate commerce and use

instrumentalities of interstate commerce in its daily business activities.

       129.    Specifically, members of Velocity maintain offices in New York, and elsewhere,

and use personnel located in New York to originate, underwrite, fund, service, and collect upon

usurious loans made by the Enterprise to entities in Pennsylvania and throughout the United States

via extensive use of interstate emails, mail, wire transfers, and bank withdrawals processed through

an automated clearing house.

       130.    In the present case, all communications between Velocity and Plaintiffs were by

interstate mail, email, telephone, wire transfers, ACH debits, and other interstate wire

communications. Specifically, the Enterprise used interstate emails to originate, underwrite,

service, and collect upon the agreements, fund the advance under the Agreement and collect the

Daily Payments via interstate electronic ACH debits. In addition, at the direction of Avigdor, some

of the agreements executed by David J. Figuli and Joshua David Figuli, on behalf of Hussian and

individually as guarantors, and the original copy of the agreement was executed in virtual form

through the services of Docusign and transmitted electronically across state lines. The guarantor


                                                 29
class members executed similar documentation. In other situations, signatures of the guarantors

and representatives of the borrowers were procured through fraud and are forgeries.

                                       Injury and Causation

          131.   Counterclaim Plaintiffs have and will continue to be injured in their business and

property by reason of the RICO Defendants’ violations of 18 U.S.C. § 1962(c), in an amount to be

determined at trial.     The injuries to the Counterclaim Plaintiffs directly, proximately, and

reasonably foreseeably resulting from or caused by these violations of 18 U.S.C. § 1962(c) include,

without limitation, the millions of dollars paid to the RICO Defendants by the Counterclaim

Plaintiffs or otherwise collected by the RICO Defendants on account of the usurious and otherwise

unenforceable agreements and attorneys’ fees and costs, including attorneys’ fees and costs

associated with exposing and prosecuting the RICO Defendants’ unlawful activities. David J.

Figuli and Joshua David Figuli have paid Hussian’s attorneys’ fees and expenses in defending this

action.

          132.   Pursuant to 18 U.S.C. § 1964(c), Counterclaim Plaintiffs are entitled to treble

damages, plus costs and attorneys’ fees from the RICO Defendants.

                                     COUNT II
                         (CONSPIRACY UNDER 18 U.S.C. § 1962(D))

          133.   Counterclaim Plaintiffs repeat and reallege the allegations contained in paragraph

21-132 as if more fully repeated herein.

          134.   RICO Defendants Avigdor, Arena, John Does 1-100, and John Does 101-200 have

unlawfully, knowingly, and willingly combined, conspired, confederated, and agreed together to

violate 18 U.S.C. § 1962(c) as described above, in violation of 18 U.S.C. § 1962(d).

          135.   By and through each of the RICO Defendants’ business relationships with one

another, including employees and services, their close coordination with one another in the affairs



                                                 30
of Velocity, and frequent email communications among the RICO Defendants concerning the

underwriting, funding, servicing, and collection of the unlawful loans, including the agreements,

each Defendant knew the nature of the Enterprise and each of the RICO Defendants knew that the

Enterprise extended beyond each individual Defendant’s role. Moreover, through the same

connections and coordination, each of the RICO Defendants knew that the other RICO Defendants

were engaged in a conspiracy to collect upon unlawful debts in violation of 18 U.S.C. § 1962(c).

       136.    Each Defendant agreed to facilitate, conduct, and participate in the conduct,

management or operation of Velocity’s affairs in order to collect upon unlawful debts, including

the agreements in violation of 18 U.S.C. § 1962(c). In particular, each Defendant was a knowing,

willing, and active participant in the Enterprise and its affairs, and each of the RICO Defendants

shared a common purpose, namely, the orchestration, planning, preparation, and execution of the

scheme to solicit, underwrite, fund, and collect upon unlawful debts, including the Agreement.

       137.    More particular to this case, Velocity underwrote and entered into the agreements

and funded and collected upon the loans by: (i) having its representatives use email to service the

loans; and (ii) by using its letterhead, it directed the borrowers to make payments under the loan

to Velocity’s bank account.

       138.    John Does 1-100 and Avigor provided equity funding to enable Velocity to solicit,

underwrite, fund, and collect upon unlawful debts, including the agreements with the borrower

class members.

       139.    Arena and John Does 101-200 provided debt funding to enable to Velocity to

solicit, underwrite, fund, and collect upon unlawful debts, including the agreements with the

borrower class members




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       140.    The participation and agreement of each Defendant was necessary to allow the

commission of this scheme.

       141.    Counterclaim Plaintiffs have been and will continue to be injured in their business

and property by reason of the RICO Defendants’ violations of 19 U.S.C. § 1962(d), in an amount

to be determined at trial. The injuries to the Counterclaim Plaintiffs directly, proximately, and

reasonably foreseeable resulting from or caused by these violations of 18 U.S.C. § 1962(d) include,

but are not limited to, millions of dollars in improperly collected loan payments and attorneys’

fees and costs, including attorneys’ fees and costs associated with exposing and prosecuting the

RICO Defendants’ criminal activities.

       142.    Pursuant to 18 U.S.C. § 1964(c), Counterclaim Plaintiffs are entitled to treble

damages, plus attorneys’ fees and costs from the RICO Defendants.

       WHEREFORE, Counterclaim Plaintiffs seek entry of a judgment against the RICO

Defendants as follows:

       A.      On the First Count, awarding actual damages in an amount to be determined at trial,
               and treble damages;

       B.      On the Second Count, awarding actual damages in an amount to be determined at
               trial, and treble damages;

       C.      An award of attorneys’ fees and costs in an amount to be determined at trial; and

       D.      Such other and further relief as the Court shall deem just and proper.




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Dated: New York, New York
       February 13, 2025



                              /s/ Jeffrey M. Greilsheimer
                             Jeffrey M. Greilsheimer
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                             Plaintiffs Hussian College Inc., Joshua
                             David Figuli and David J. Figuli




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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 VELOCITY CAPITAL GROUP LLC,

                               Plaintiff,

                        v.
                                                             Case No.: 2:23-cv-05562-NJC-ST
 HUSSIAN COLLEGE, INC., JOSHUA
 DAVID FIGULI, and DAVID J. FIGULI,

                               Defendants.

 HUSSIAN COLLEGE, INC., JOSHUA
 DAVID FIGULI, and DAVID J. FIGULI, on
 behalf of themselves and all similarly situated
 borrowers and guarantors,
                               Plaintiffs,
                        v.
 VELOCITY CAPITAL GROUP LLC, JACOB
 AVIGDOR, ARENA INVESTORS, LP,
 JOHN DOES 1-100, and JOHN DOES 101-
 200,
                               Defendants.

                                        VERIFICATION

       I make this Verification on behalf of myself and as the authorized representative of Hussian

College Inc. I have read the foregoing Answer and Verified Complaint and know the contents

thereof; that the same is true to my knowledge except those matters stated to be alleged on

information and belief, and as to those matters I believe them to be true. The grounds for my belief

in those matters herein not stated upon my knowledge is based upon the records in my possession.

       I declare that the under penalty of perjury that foregoing is true and correct. Executed on

February 13, 2025.
____________________________
DAVID J. FIGULI
Individually and as Authorized Representative of
Hussian College, Inc.
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 VELOCITY CAPITAL GROUP LLC,

                               Plaintiff,

                        v.
                                                             Case No.: 2:23-cv-05562-NJC-ST
 HUSSIAN COLLEGE, INC., JOSHUA
 DAVID FIGULI, and DAVID J. FIGULI,

                               Defendants.

 HUSSIAN COLLEGE, INC., JOSHUA
 DAVID FIGULI, and DAVID J. FIGULI, on
 behalf of themselves and all similarly situated
 borrowers and guarantors,
                               Plaintiffs,
                        v.
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 AVIGDOR, ARENA INVESTORS, LP,
 JOHN DOES 1-100, and JOHN DOES 101-
 200,
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       I make this Verification on behalf of myself and as the authorized representative of Hussian

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thereof; that the same is true to my knowledge except those matters stated to be alleged on

information and belief, and as to those matters I believe them to be true. The grounds for my belief

in those matters herein not stated upon my knowledge is based upon the records in my possession.

       I declare that the under penalty of perjury that foregoing is true and correct. Executed on

February 13, 2025.

                                              ____________________________
                                              JOSHUA DAVID FIGULI
                                              Individually and as Authorized Representative of
                                              Hussian College, Inc.
